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         (formerly known as Golden Temple of Oregon, LLC)




                               IN THE UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON

                                          PORTLAND DIVISION

EAST WEST TEA COMPANY, LLC, fka                                  Case No. 3:11-cv-01358-HZ
GOLDEN TEMPLE OF OREGON, LLC,
an Oregon Limited Liability Company,                             PLAINTIFF’S ANSWER AND
                                                                 DEFENSES TO BIBIJI INDERJIT
                                   PLAINTIFF,                    KAUR PURI’S COUNTERCLAIM

         v.
BIBIJI INDERJIT KAUR PURI, an
individual; and SOPURKH KAUR
KHALSA, EK ONG KAR KAUR
KHALSA, and SHAKTI PARWHA KAUR
KHALSA, as Trustees of the Yogi Bhajan
Administrative Trust,

                                   DEFENDANTS.


         Plaintiff East West Tea Company, LLC (“EWTC”) respectfully submits this answer to

Defendant Bibiji Inderjit Kaur Puri’s (“Bibiji”) counterclaim stated in her June 8, 2020 Answer




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to Second Amended and Supplemental Complaint for Declaratory Judgment and Counterclaim

(Dkt. No. 221) (“Bibiji’s Counterclaim”).

                                         COUNTERCLAIM

         In response to the unnumbered introduction to Bibiji’s Counterclaim, EWTC answers that

the unnumbered introduction states legal conclusions to which no response is required. To the

extent a response is required, EWTC admits that Bibiji asserts a counterclaim under 28 U.S.C.

§ 2201 and that a controversy exists between EWTC and Bibiji. Except as expressly admitted,

EWTC denies the allegations the unnumbered introduction to Bibiji’s Counterclaim and the
whole thereof.

                                                 PARTIES

         1.        In answering paragraph 1 of Bibiji’s Counterclaim, EWTC admits that Bibiji is an

individual. EWTC is without knowledge or information sufficient to form a belief as to the truth

or falsity of the remaining allegations in paragraph 1 of Bibiji’s Counterclaim and therefore

denies them. Except as expressly admitted, EWTC denies the allegations in paragraph 1 of

Bibiji’s Counterclaim and the whole thereof.

         2.        EWTC admits the allegations in paragraph 2 of Bibiji’s Counterclaim.

                                            JURISDICTION
         3.        Paragraph 3 of Bibiji’s Counterclaim states legal conclusions to which no

response is required. To the extent a response is required, EWTC admits that Bibiji asserts a

counterclaim seeking relief under 28 U.S.C. §§ 2201 and 2202. Except as expressly admitted,

EWTC denies the allegations in paragraph 3 of Bibiji’s Counterclaim and the whole thereof.

         4.        Paragraph 4 of Bibiji’s Counterclaim contains legal conclusions to which no

response is required. To the extent a response is required, EWTC admits that this Court has

supplemental jurisdiction under 28 U.S.C. § 1367 over a counterclaim that derives from a

common nucleus of operative fact with the allegations contained in a complaint over which this

court has original jurisdiction and that this court has original jurisdiction under 15 U.S.C. § 1121
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and 28 U.S.C. § 1338. Except as expressly admitted, EWTC denies the allegations in paragraph

4 of Bibiji’s Counterclaim and the whole thereof.

         5.        Paragraph 5 of Bibiji’s Counterclaim contains legal conclusions to which no

response is required. To the extent a response is required, EWTC admits the allegations in

paragraph 5 of Bibiji’s Counterclaim.

         6.        Paragraph 6 of Bibiji’s Counterclaim contains legal conclusions to which no

response is required. To the extent a response is required, EWTC admits that it is subject to

personal jurisdiction in this judicial district and that venue is proper. EWTC further admits that
it filed its Second Amended and Supplemental Complaint (Dkt. No. 199) (“SAC”) in the above-

captioned matter on February 7, 2020, seeking, among other things, declaratory relief. Except as

expressly admitted, EWTC denies the allegations in paragraph 6 of Bibiji’s Counterclaim and the

whole thereof.

                                      FACTUAL BACKGROUND

                                   Yogi Bhajan’s Intellectual Property

         7.        In answering Paragraph 7 of Bibiji’s Counterclaim, EWTC admits that Yogi

Bhajan died in 2004. EWTC further admits that certain intellectual property exists relating to

Yogi Bhajan’s name and likeness, the YOGI and YOGI TEA trademarks, and other trademarks
and trade dress associated with the YOGI TEA brand, which are used in connection with certain

products including tea (the “YOGI Marks”). EWTC denies that Bibiji is now a co-owner of the

YOGI Marks. Except as expressly admitted, EWTC is without knowledge or information

sufficient to form a belief as to the truth or falsity of the allegations in paragraph 7 of Bibiji’s

Counterclaim and therefore denies them and the whole thereof.

         8.        In answering paragraph 8 of Bibiji’s Counterclaim, EWTC admits that Yogi

Bhajan was a Sikh spiritual leader who embraced certain teachings. Except as expressly

admitted, EWTC is without knowledge or information sufficient to form a belief as to the truth


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or falsity of the allegations in paragraph 8 of Bibiji’s Counterclaim and therefore denies them

and the whole thereof.

         9.        In answering paragraph 9 of Bibiji’s Counterclaim, EWTC admits that its

predecessor-in-interest, Golden Temple of Oregon (“GTO”), licensed the YOGI Marks in 2004,

prior to Yogi Bhajan’s death (the “2004 License”), and that GTO obtained the 2004 License

from a living trust Yogi Bhajan and Bibiji had established to hold their assets (the “Living

Trust”). EWTC further admits that the YOGI Marks had goodwill value. Except as expressly

admitted, EWTC is without knowledge or information sufficient to form a belief as to the truth
or falsity of the allegations in paragraph 9 of Bibiji’s Counterclaim and therefore denies them

and the whole thereof.

         10.       In answering paragraph 10 of Bibiji’s Counterclaim, EWTC admits that EWTC’s

predecessor-in-interest, GTO, had obtained the 2004 License for the YOGI Marks from the

Living Trust in 2004. Except as expressly admitted, EWTC is without knowledge or information

sufficient to form a belief as to the truth or falsity of the allegations in paragraph 10 of Bibiji’s

Counterclaim and therefore denies them and the whole thereof.

                                   Co-Ownership of the Yogi Trademarks

         11.       In answering paragraph 11 of Bibiji’s Counterclaim, EWTC admits that, upon
Yogi Bhajan’s death, the Yogi Bhajan Administrative Trust (“YB Trust”) succeeded to

ownership of an undivided 50% interest in all the intellectual property included in the Living

Trust, including the YOGI Marks, that the New Mexico court so held, and that the New Mexico

court’s holding was affirmed on appeal. EWTC further admits that upon Yogi Bhajan’s death,

Bibiji or a successor trust in which she had an interest succeeded to the other undivided 50%

interest. Except as expressly admitted, EWTC denies the allegations in paragraph 11 of Bibiji’s

Counterclaim and the whole thereof.




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               The Oregon Arbitration and YB Trust’s License to GTO and EWTC

         12.       In answering paragraph 12 of Bibiji’s Counterclaim, EWTC admits that, in 2009,

EWTC, operating under different management, stopped paying royalties under the 2004 License

and notified the co-trustees of the YB Trust (“Trustees”) and Bibiji that it stopped paying

royalties. Except as expressly admitted, EWTC denies the allegations in paragraph 12 of Bibiji’s

Counterclaim and the whole thereof.

         13.       In answering paragraph 13 of Bibiji’s Counterclaim, EWTC admits that it

continued use of some (though not all) of the YOGI Marks (e.g., it did not continue use of Yogi
Bhajan’s name and likeness) after stopping royalty payments under the 2004 License, based on

its contention that it owned the YOGI Marks it was using and that those Marks were not covered

by the 2004 License. Except as expressly admitted, EWTC denies the allegations in paragraph

13 of Bibiji’s Counterclaim and the whole thereof.

         14.       In answering paragraph 14 of Bibiji’s Counterclaim, EWTC admits that Bibiji

initiated an arbitration proceeding against EWTC (then known as GTO) in Oregon under the

2004 License regarding EWTC’s continued use of the YOGI Marks without making royalty

payments to Bibiji. Except as expressly admitted, EWTC denies the allegations in paragraph 14

of Bibiji’s Counterclaim and the whole thereof.
         15.       In answering paragraph 15 of Bibiji’s Counterclaim, EWTC admits that on or

about August 2, 2011, the arbitration panel issued its Findings of Fact and Notice of Award

(“First Award”). EWTC further states that the First Award speaks for itself. Except as expressly

admitted, EWTC denies the allegations in paragraph 15 of Bibiji’s Counterclaim and the whole

thereof.

         16.       In answering paragraph 16 of Bibiji’s Counterclaim, EWTC admits that, after the

First Award, it sought a new license of the YOGI Marks from Bibiji and the YB Trust. Except

as expressly admitted, EWTC denies the allegations in paragraph 16 of Bibiji’s Counterclaim

and the whole thereof.
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         17.       In answering paragraph 17 of Bibiji’s Counterclaim, EWTC admits that Bibiji and

EWTC did not reach agreement on a license and thereafter EWTC entered into a license

agreement with the YB Trust, under which the YB Trust licensed the YB Trust’s interest in and

right to use the YOGI Marks to EWTC beginning on October 1, 2011 (the “Interim License”).

Except as expressly admitted, EWTC denies the allegations in paragraph 17 of Bibiji’s

Counterclaim and the whole thereof.

         18.       In answering paragraph 18 of Bibiji’s Counterclaim, EWTC admits that the

Interim License contained a provision stating “If this Agreement is not terminated pursuant to
Paragraph 11 by December 31, 2011, GTO agrees that on the first business day thereafter, it will

offer substantially the same material terms and conditions of this agreement to Bibiji Inderjit

Kaur Puri (‘Bibiji’) which will include a ten (10) day period within which to accept or reject the

offer.” EWTC also admits that it agreed with the YB Trust that if it obtained a license from

Bibiji on more favorable terms than the Interim License, it would offer those same terms to the

Trust. Except as expressly admitted, EWTC denies the allegations in paragraph 18 of Bibiji’s

Counterclaim and the whole thereof.

         19.       In answering paragraph 19 of Bibiji’s counterclaim, EWTC admits that on

December 15, 2012, EWTC and the YB Trust replaced the Interim License with a perpetual
license, under which the YB Trust licensed to EWTC the YB Trust’s interest in and right to use

the YOGI Marks (“Perpetual License”). EWTC further states that the Perpetual License speaks

for itself. Except as expressly admitted, EWTC denies the allegations in paragraph 19 of Bibiji’s

Counterclaim and the whole thereof.

         20.       Paragraph 20 of Bibiji’s Counterclaim states legal conclusions to which no

response is required. To the extent a response is required, EWTC states that the Interim License

and Perpetual License speak for themselves, and EWTC otherwise denies the allegations in

paragraph 20 of Bibiji’s Counterclaim and the whole thereof.

         21.       EWTC admits paragraph 21 of Bibiji’s Counterclaim.
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         22.       EWTC admits paragraph 22 of Bibiji’s Counterclaim.

         23.       In answering paragraph 23 of Bibiji’s Counterclaim, EWTC responds that the

allegations regarding the “practical effect” of the Perpetual License state legal conclusions to

which no response is required. To the extent a response is required, EWTC denies the

allegations in paragraph 23 of Bibiji’s Counterclaim and the whole thereof.

               EWTC Does Not Have Any License To Use The Entirety of The Marks

         24.       In answering paragraph 24 of Bibiji’s Counterclaim, EWTC admits that, initially

under the Interim License and later under the Perpetual License, EWTC has continued to use the
YOGI Marks and pay related royalties to the YB Trust, and that it has no obligation to pay

royalties to Bibiji under those licenses. In response to the allegation regarding the “clear

language” of the licenses, EWTC answers that the Interim License and Perpetual License speak

for themselves. Except as expressly admitted, EWTC denies the allegations in paragraph 24 of

Bibiji’s Counterclaim and the whole thereof.

         25.       Paragraph 25 of Bibiji’s Counterclaim states legal conclusions to which no

response is required. To the extent a response is required, EWTC answers that the Interim

License and Perpetual License speak for themselves and otherwise denies the allegations in

paragraph 25 of Bibiji’s Counterclaim and the whole thereof.
         26.       Paragraph 26 of Bibiji’s Counterclaim states legal conclusions to which no

response is required. To the extent a response is required, EWTC states it is not using Bibiji’s

rights in the YOGI Marks (if any) and otherwise denies the allegations in paragraph 26 of

Bibiji’s Counterclaim and the whole thereof.




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                                        CLAIM FOR RELIEF

                                                   Count I

  Declaratory Judgment That The EWTC Agreement and Interim License Did Not Allow
   Use Of the Yogi Marks Without A License From Bibiji and Payment For Such Uses
         27.       EWTC restates and incorporates its responses to paragraphs 1-26 of Bibiji’s

Counterclaim, inclusive, as though fully set forth herein.

         28.       In responding to paragraph 28 of Bibiji’s Counterclaim, EWTC admits that, if

Bibiji as an individual holds an interest in the YOGI Marks, then there exists a justiciable

controversy between EWTC and Bibiji. Except as expressly admitted, EWTC denies the

allegations in paragraph 28 of Bibiji’s Counterclaim and the whole thereof.

         29.       Paragraph 29 of Bibiji’s Counterclaim characterizes Bibiji’s allegations and states

legal conclusions to which no response is required. To the extent a response is required, EWTC

admits that the Interim License and Perpetual License did not grant GTO, now EWTC, any right

to use Bibiji’s interest in the YOGI Marks (if any) without payment of a royalty to Bibiji, but

EWTC otherwise denies the allegations in paragraph 29 and the whole thereof.

         30.       In answering paragraph 30 of Bibiji’s Counterclaim, EWTC admits that the

Perpetual License (and the Interim License before it) gives EWTC rights to use the YOGI Marks
in exchange for royalty payments to the YB Trust without compensation to Bibiji and further

answers that the Interim License and Perpetual License speak for themselves. The remainder of

paragraph 30 characterizes Bibiji’s allegations and states legal conclusions to which no response

is required. To the extent a response is required and except as expressly admitted, EWTC denies

the allegations in paragraph 30 of Bibiji’s Counterclaim and the whole thereof.

         31.       EWTC denies the allegations in paragraph 31 and the whole thereof.

         32.       Except as expressly admitted, EWTC denies the allegations in Bibiji’s

Counterclaim and the whole thereof.



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                                      AFFIRMATIVE DEFENSES

         Without assuming any burdens that properly rest with Bibiji, EWTC asserts the following

defenses:

         33.       Bibiji’s Counterclaim fails to state a claim upon which relief can be granted.

         34.       Bibiji is not the real party in interest for the relief she seeks.

         35.       Bibiji lacks standing to bring her Counterclaim.

         36.       Bibiji’s Counterclaim is barred by equitable and legal doctrines, including

estoppel.
         37.       Bibiji’s Counterclaim is barred by the doctrines of issue preclusion and/or claim

preclusion.

         38.       Bibiji’s Counterclaim is barred because EWTC obtained Licenses under which it

is lawfully authorized to use the YOGI Marks.

         39.       Bibiji’s Counterclaim is barred to the extent Bibiji seeks redress for EWTC’s use

of the YOGI Marks before October 1, 2011, because EWTC paid and Bibiji accepted the

damages awarded by the arbitration panel through that date.

         40.       Bibiji’s Counterclaim is barred by the statute of limitations and/or laches.

         41.       EWTC reserves the right to assert additional defenses that become known through
investigation and discovery.

         WHEREFORE, EWTC prays as follows:

         A.        That the Court declare that EWTC’s use of the YOGI Marks pursuant to the

Licenses is lawful and (1) does not infringe any of Bibiji’s trademark rights and (2) is permitted

notwithstanding the First Award, as upheld by the arbitration panel in a subsequent final

arbitration award issued on November 11, 2011 (“Final Award”);

         B.        That the Court declare that EWTC has no obligation to account, pay royalties, or

otherwise provide remuneration to Bibiji for its use of the YOGI Marks after October 1, 2011,

pursuant to the Licenses; and
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         C.        That the Court enter a permanent stay of the injunction and post-October 1, 2011

damages included in its judgment in Case No. 3:11-cv-01380-HZ, or otherwise modify the post-

October 1, 2011 relief awarded, consistent with its declaratory rulings in this case; and

         D.        That EWTC be awarded such other relief this Court deems just and equitable.

         DATED this 29th day of June, 2020.

                                         DAVIS WRIGHT TREMAINE LLP



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